        Case 2:24-cv-04795-WLH-ADS                        Document 40             Filed 08/02/24           Page 1 of 3 Page ID
                                                               #:267
Name and addrcss:

                           Dan Marmalefsky
                      Mollison & Foerster LLP
                  707 wilshire Boulevard, Suite 6000
                        Los Angeles, CA 900U


                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA

                                                                            CASE NUMBER
                                                                                                     2:24- cv -04795
                                                          Plaintiff(s),

                   v.
                                                                              APPUCATION OF NON.RESIDENT ATTORNEY
Mindceek S.A.R.L., et aL                                                           TO APPEAR IN A SPECIFIC CASE
                                                        Defendant(s),                     PROHACWCE
INSTRUCTIONS FOR APPLICANTS
(l\ The awmey seekingto appear prc hac vke m,rtt cot rplete Section I of thk Application, the certifi.otion in Section II, and haee the
    desigated Local Counsel sigl in Section I . Spoce to supplenent responses k proided it Section IV. The appticant ,nust ako attach q
    Qertifrcate of Good Standing (issued within the lost 30 day) ?oin every stote bar to which he or she is ad.mitted; failure to do so will be
    grounds Jot deaying the Application. Scan the complzted Application, together with ony attachfiefit(s), to a sirgle Pottdble Docuflent
    Fot nat (PDF) fle.
(2) Heye the designoted Local Counselfile the ApPlication electronically usingthe Coun's electronk filing systern ('Motions and Related
       Fllings => Applicatio\s/Ex Patte Applkations,/Motions/Petitions/Requests => Appeal Pro Hac Vice (G-64)"), attach a Proposed Ord.et
       (using Form G-64 OPJ,.ER, availabk ftom the Court's website), atd pay the required $500 fee onlifie at the tine oJflirrg (Lting a ffedit
       card). The fee is rcquiredJor eech case ir which the aPPlicant fles an Application. Failure to Pay the fee at the time offling will be
       grounds for de@ng the Application. Out-of-stqte fedfral gofiflrnart altomtls are rot rcquired to poy ihe $50o fee. (Certain
       ottofle/s lor the united States are slso exenpt lron the requirement of applying for pro hsc lice status. See L.R.83-2.1.4.) A copy ofthe
       G-A OI.D.ER in Wotd or WordPerfect format nust be emailed to the getetk chambers euail addtas- L.R- 54.4.2
SECTION I - INFORMATION
White, Ronald G.
Applicqnt's Name (Last Name, First Narne 6 Mi.W Initial)                                          check here iffederal goveflfient attorney E

wdden Macht Haran & Williams LLP
FirmlAge^c! Name
250 Vesey Street, 27th Floor                                              212-335-2387                         2t2-335-2040
                                                                          Telephone Numbet                     Fax Number

Street Address

New York, NY 10281                                                                            rwhite@wmhwlaw.com
City, State, Zip Code                                                                               E-mail Ad.dress

I have been retained to represent the following partiesr
Bernd Bergmair                                                            I Plaintffi) fi DeJendant(s) | other:
                                                                          I Plaintif@ D Dekld4nt(s) B other:
Name(s) of Party(ie) Represented

List all state and federal cours (induding appellate courts) to which the applicant has been admitted, and Provide the current status of his or
her membership. Use Seaion IV if more room is needed, or to provide additional information.

                    Name olCourt                               Adrnission Active Member in Good. Standing? fif not, Please explain)
                                                          Date of
New York State                                               0212612004 Yes
Maryland                                                      L2lt6l1988           Yes

District of Columbia                                         0610411990            Yes


c-64   (10/23)               AppLtcATIoN oF NON.RTSDENT ATTORNEYTO APPEARTN A SPECITIC CASE PIOII{C VICE                               Page I of3
      Case 2:24-cv-04795-WLH-ADS                          Document 40             Filed 08/02/24             Page 2 of 3 Page ID
                                                               #:268

List all cases in which the applicant has applied to this Court forrro ,rrc yice status in the previous three years (continue in Section   Mf
needed):
       Case Number                                      Title of Action                           Date qf   Agplication Granted / Denied?
2:21-or-M920                           Fleites, et al. v. MindGeek S.A.RL., et al.               0811212021 Granted




lf any pro hac dce applications submitted liithin the past thlee (3) years have been denied by the Court, please explain:
  N/A.




Attorneys ,nust be registered for the Court's electronic frling system to practice Pro hac vice in this Court. Submission
of thk Application will constitute your registration (or re-registration) to use that system. lf the Court signs an Order
ganting your Application, vkit www,pacer.gol) to comPlete the reglstration Process and activate your e-fling
privileges in the Central District of California.

          SECTION II - CERTIFICATION

          I declare under penalty of perjury that:

          (1) Ail ofthe above information is true and correct.
          (2) I am not a resident of the State of California. I am not regularly emPloyed in, or engaged in
               substantial business, professional, or other activities in the State of California.
          (3) I am not currently suspended from and have never been disbarred from practice in any courL
          (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence,
          (5) I designate the attorney listed in Seaion III below, who is a member in good standing of the Bar
               of this Court and maintains an oftice in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

             oated 0713t12024                                          Ronald G. White




                                                                       Applicont's Signature



G44IIoI2n                  APPLiCATIoN oF NoN.RESIDENT AITORNEYTOAPPEAR IN A SPECIFTC CASEPROII,{C YICE                                    PaSe 2 of3
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                                  #:269
